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Attorneys for Plaintif. vatiese

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America, No. — CR-25-08043-PCT-DWL (ESW)
Plaintiff, INDICTMENT
vs. VIO: 18 U.S.C. §§ 1153 and 1111
(CIR po Degree Murder)
ount

Benjamin Johnson,
18 U.S.C. §§ 1153 and 113(a)@)
Defendant. (CIR — Assault with a Dangerous
Weapon)

Count 2

18 U.S.C. §§ 1153 and 113(a)(6)
(CIR — Assault Resulting in Serious
Bodily Injury)

Count 3

18 U.S.C. § 924(c)(1)(A)@) GiGi)
uge of a Firearm During

rimes of Violence)
Count 4

THE GRAND JURY CHARGES:
COUNT 1

On or about October 1, 2024, in the District of Arizona, within the confines of the
Navajo Nation Indian Reservation, Indian Country, the defendant, BENJAMIN
JOHNSON, an Indian, with malice aforethought, did unlawfully kill L.J.

In violation of Title 18, United States Code, Sections 1153 and 1111.

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COUNT 2
On or about October 1, 2024, in the District of Arizona, within the confines of the
Navajo Nation Indian Reservation, Indian Country, the defendant, BENJAMIN
JOHNSON, an Indian, did intentionally and knowingly assault L.J., with a dangerous
weapon, a handgun, with intent to do bodily harm.
In violation of Title 18, United States Code, Sections 1153 and 113(a)(3).
COUNT 3
On or about October 1, 2024, in the District of Arizona, within the confines of the
Navajo Nation Indian Reservation, Indian Country, the defendant, BENJAMIN
JOHNSON, an Indian, did intentionally, knowingly, and recklessly assault the victim, L.J.,
resulting in serious bodily injury.
In violation of Title 18, United States Code, Sections 1153 and 113(a)(6).
COUNT 4
On or about October 1, 2024, in the District of Arizona, the defendant, BENJAMIN
JOHNSON, did knowingly use, carry, brandish, and discharge a firearm during and in
relation to crimes of violence and did knowingly possess, brandish, and discharge the
firearm, in furtherance of crimes of violence, that is Second Degree Murder and Assault
With a Dangerous Weapon as alleged in Counts | and 2, felony crimes prosecutable in a
court of the United States.
In violation of Title 18, United States Code, Section 924(c)(1)(A)(i)(ii) (iii).

A TRUE BILL

s/
FOREPERSON OF THE GRAND JURY
Date: March 25, 2025

TIMOTHY COURCHAINE
United States Attorney
District of Arizona

s/
W. VINNIE LICHVAR
Assistant U.S. Attorney

